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 1   McGREGOR W. SCOTT
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                         EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,          ) CR. NO. 05-0161 OWW
11                                      )
                    Plaintiff,          )
12                                      )
          v.                            ) STIPULATION RE:
13                                      ) CONTINUANCE AND ORDER
     CESAR GONZALEZ ZAMORA,             )
14                                      )
                    Defendant.          )
15   ___________________________________)

16        Defendant CESAR GONZALEZ ZAMORA, by and through his attorney,

17   DANIEL HARRALSON, and the United States of America, by and through

18   its attorneys, McGREGOR W. SCOTT, United States Attorney, and

19   KAREN A. ESCOBAR, Assistant United States Attorney, hereby enter

20   into the following stipulation:

21        1.    The parties to the above-captioned matter agree to vacate

22   the March 6, 2006, hearing date in this matter and reset it for

23   March 13, 2006, at 1:30 p.m.

24        2.    The parties further agree to set the deadline for the

25   government’s response to the defendant’s pretrial motion on March

26   7, 2006.

27        3.    The parties stipulate that the continuance is

28   necessitated by the government’s need to adequately respond to the

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 1   defendant’s motion and to accommodate the government’s attorney’s

 2   deadline for the filing of an appeal brief in United States v.

 3   Alvarez-Marroquin, C.A. No. 05-10563, due on March 6 in the Ninth

 4   Circuit Court of Appeals, and to honor the jury summons issued to

 5   the government’s attorney requiring her appearance in Fresno

 6   County Superior Court on March 6.

 7        4.   The parties stipulate that time would be excluded under

 8   the Speedy Trial Act and that the ends of justice served by

 9   granting the requested continuance outweigh the best interests of

10   the public and the defendant in a speedy trial, in that the

11   failure to grant the continuance would deny the government

12   sufficient time to adequately respond to the defendant’s pretrial

13   motion.

14   DATED: March 28, 2006                        Respectfully submitted,

15                                                McGREGOR W. SCOTT
                                                  United States Attorney
16
                                                  By /s/ Karen A. Escobar
17                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
18

19   DATED: March 28, 2006                         /s/Daniel Harralson
                                                   DANIEL HARRALSON
20                                                 Attorney for Defendant
                                                   CESAR GONZALEZ ZAMORA
21
                      IT IS SO ORDERED.
22
     Dated: February 28, 2006               /s/ Oliver W. Wanger
23   emm0d6                            UNITED STATES DISTRICT JUDGE

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